Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 1 of 21 PageID 14791




                   Exhibit 4
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 2 of 21 PageID 14792




              Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 1 of 20




                                        Exhibit 10, p. 1
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 3 of 21 PageID 14793




              Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 2 of 20




                                        Exhibit 10, p. 2
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 4 of 21 PageID 14794




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 3 of 20




                                          Exhibit 10, p. 3
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 5 of 21 PageID 14795




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 4 of 20




                                          Exhibit 10, p. 4
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 6 of 21 PageID 14796




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 5 of 20




                                          Exhibit 10, p. 5
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 7 of 21 PageID 14797




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 6 of 20




                                          Exhibit 10, p. 6
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 8 of 21 PageID 14798




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 7 of 20




                                          Exhibit 10, p. 7
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 9 of 21 PageID 14799




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 8 of 20




                                          Exhibit 10, p. 8
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 10 of 21 PageID 14800




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 9 of 20




                                          Exhibit 10, p. 9
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 11 of 21 PageID 14801




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 10 of 20




                                          Exhibit 10, p. 10
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 12 of 21 PageID 14802




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 11 of 20




                                          Exhibit 10, p. 11
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 13 of 21 PageID 14803




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 12 of 20




                                          Exhibit 10, p. 12
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 14 of 21 PageID 14804




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 13 of 20




                                          Exhibit 10, p. 13
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 15 of 21 PageID 14805




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 14 of 20




                                          Exhibit 10, p. 14
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 16 of 21 PageID 14806




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 15 of 20




                                          Exhibit 10, p. 15
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 17 of 21 PageID 14807




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 16 of 20




                                          Exhibit 10, p. 16
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 18 of 21 PageID 14808




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 17 of 20




                                          Exhibit 10, p. 17
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 19 of 21 PageID 14809




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 18 of 20




                                          Exhibit 10, p. 18
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 20 of 21 PageID 14810




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 19 of 20




                                          Exhibit 10, p. 19
Case 6:21-md-03006-RBD-DAB Document 260-4 Filed 04/05/23 Page 21 of 21 PageID 14811




                Case 1:16-cv-00393-SEH Document 130-10 Filed 08/22/17 Page 20 of 20




                                          Exhibit 10, p. 20
